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DEFENDANT - SMF
EXHIBIT 19
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Nancy Lewen (
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Ca
Springfield, MA Worcester,

Page 1

1 IN THE UNITED STATES DISTRICT COURT

2 FOR THE WESTERN DISTRICT OF PENNSYLVANIA )

3

4 Civili Action No. 1:17-cv-148-SPB i

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6 FIO IOC III IORI OR IO I ICR RII IK AF

|

7 | NANCY E, LEWEN, *

:

8 Plaintiff, * !

9 Vv. +
+6 #

11] SAILORS' HOME (PSSH), et al., * :
a 12 Defendants. *
j :

13 eI IO III IO IO RO III OR TICK a IK :

14 :

|

16 TELEPHONIC DEPOSITION OF: :

4

17 NANCY ELIZABETH LEWEN i

i
18 CATUOGNO COURT REPORTING SERVICES, INC. |
;
19 155 South Main Street, 2nd Floor
20 Providence, Rhode Island
3
21 December 23, 2019 9:54 a.m. :
22 :
1

23 Ellen M. Muir :

a 24 Court Reporter

ST TT eee NE RE Lt Ne

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MA Boston, MA Providence, RI

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Page 2

1 APPEARANCES:

2

3 Representing the Plaintiff (pro se):

4 NANCY LEWEN

5 rege

6 ee EE,

7 A. pa

8

9 Representing the pefendants (via telephone):
5 SpE RCE OR _ADTORNEY. GENERAL .
11 1251 Waterfront Place
12 Mezzanine Level
13 Pittsburgh, PA 15222
14 BY: YANA L. WARSHAFSKY, ESQ.
15 (Deputy Attorney General)
16 717.787.3391
17 ywarshafsky@attorneygeneral . gov
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Page 3 :

1 INDEA

3 | WITNESS: NANCY ELIZABETH LEWEN

EXAMINATION BY: PAGE:
Ms. Warshafsky” ~ 4

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EXHIBIT: PAGE:

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1 NANCY ELIZABETH LEWEN, Deponent, having first

2 been satisfactorily identified and duly sworn,

3 deposes and states as follows:

4 EXAMINATION BY MS. WARSHAFSKY:

5 Q. Can everybody hear me okay?

6 A. Yes.

7 Q. Okay. Good morning, Ms. Lewen, as you

8 know -- as you may remember my name is Yana

9 Warshafsky, and I represent the defendants in this
11 Raymond. You have filed a complaint in the case of
12 Nancy Lewen versus Pennsylvania Soldiers' and
13 Sailors' Home, et al., which has been docketed in the
14 United States District Court for the Western District
15 of Pennsylvania, a Docket No. 171478.
16 As I mentioned a moment ago, I represent
17 Ms. Barbara Raymond, the only remaining defendant in
18 this case. The remaining claims in this case are,
19 No. 1, First Amendment, freedom of speech; and No. 2;
20 First Amendment, retaliation claim under 1983 against
21 Ms. Raymond. Before we begin this morning,
22 Ms. Lewen, I want to set forth some of the ground
23 rules for a deposition. I will be asking you
24 questions about your lawsuit and the circumstances

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1 underlining your claims?
2 You have just been placed under oath.
3 The court reporter, who is sitting next to you, will
4 take down everything I say and everything you say, 5°

we'll have a transcript of this when we are finished.

5
6 The most important thing to remember is, especially
7

because we're doing this by phone, is that only one

8 person can speak at a time so the court reporter can

9 record everything that is said. Does that make

11 A, Yes, it does.

12 Q. Okay. Could you please state your name
13 for the record?
14 A. Nancy Elizabeth Lewen.

15 Q. Ms. Lewen, do you read, write and

16 understand the English language?

17 A. Yes, I do.

18 Q. Is there anything that would prevent you
19 from providing accurate testimony here today?

20 A. No, not that I'm aware of.

21 Q. Okay. Are you taking any medication that

22 would prevent you from providing truthful or accurate

23 answers?

24 A. I take a medication but t don't think

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1 that it would prevent me from -- no, it wouldn't
2 prevent from me providing truthful answers.

3 Q. Okay. What about accurate answers?
4 A. No, that wouldn't prevent me from

5 providing accurate answers.

6 Q. Okay. Very good. Ms. Lewen, if you

7 provide an answer to a question that I have asked, I
8 will assume that you understood the question. If you

9 don't understand a question that I ask, piease ask me

12 Q. Okay. I don't anticipate this deposition
13 going. very long. But if you need to take a break at
14 any time, please let me and Eilen, the court

15 reporter, know 50 that we can accommodate your

16 request. The only thing I ask is that if there is a

17 question pending, you answer that question before we

deposed before?

18 take a break. Does that make sense?

19 A. Yes.

20 Q. Okay. Do you have any questions about 1

21 the process before we begin? :

22 A. No.
4

23 Q. Okay. Ms. Lewen, have you ever been

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deposition, Ms. Lewen?

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1 A. No, I have not.
2 Q. I do know that you have testified in
3 court proceedings before. Other than the court |
4 proceedings involved in this case, have you testified
3 in court in other instances?
6 A. Yes, I have.
7 Q Can you describe those events?
8 A. Child support hearings.
9 Q Anything else?
1 A
11 testified in.
12 Q. And could you give me an approximate date |
13 of when the child support hearings took place? :
14 A. From 1994 until 19 -- or until 2007.
15 Q. Got you. Okay. Because I can't see you, :
16 Ms. Lewen, did you bring anything with you this
17 morning?
18 A. I brought just myself and my purse and my
19 coat, which is beside me.
20 Q. Okay. You don't have any documents in
21 front of you or anything?
4
22 A. No, I don't.
23 Q. What did you do to prepare for today's
i
,

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your complaint?

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1 A. I tried to read through a lot of the |
2 different papers over the past few years. I spent |
3 the weekend looking at some things; there are so
4 many, but tf tried my best to look at the pertinent
5 documents.
6 Q. You just mentioned papers and then you |
7 mentioned pertinent documents. Could you be a little :
8 bit more specific about which documents you reviewed?
9 A. The Facebook messages. The --
“ry =
11 ahead.
12 A. ~ read over the letter concerning patient
13 dignity issues.
;
14 Q. Are those the only two documents that you
15 reviewed?
16 A. No. I read more than that but fF don't |
17 know the titles of them. I read over the document
18 that I had written concerning facility contributory |
19 neglect.
20 Q. Okay. And that's the anonymous complaint |
21. that you filed? i
22 A. It wasn't anonymous, no. |
23 Q. Did you have an opportunity to review |
i
cali

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1 A. No, I didn't. I did not review my

2 complaint.

3 Q. I will represent to you that in paragraph

4 18 of your complaint -- and since you don't have it

5 in front of you, it's difficult for me to show it to

6 you. But I will represent that this is what your

7 complaint says, as I will be reading from it.

8 In paragraph 18, you allege "Plaintiff

9 countered the neglect of duty allegation with an
il filed a anonymous complaint with the Department of
12 Health in December 2015, which resuited in four more
13 deficiencies, including an F-Tag 309. Plaintiff
14 then filed an anonymous complaint of elder abuse and
15 neglect with the Pennsylvania Office of Attorney
16 General."
1? Ms. Lewen, are you testifying today that
18 those complaints that you described as anonymous in
19 your complaint were actually not anonymous?
20 A. The one with the Department of Heaith was
21 anonymous, but if I remember correctly, I think that
22 the one to the attorney general's office -- well, I
23 do remember correctly -- that was not anonymous.
24 Phat was -~ I gave my name with that and the criminal

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1 investigators called me in and interviewed me.

2 Q. Why did you identify the complaint ~-- or

3 describe the complaint as anonymous in your federal

4 complaint?

5 A. It was anonymous as far as I didn't tell

6 Barbara Raymond or any of the defendants that I had

7 filed it. But as far as to the attorney general's

8 office -- to the Criminal Bureau of Criminal

9 Investigation at the attorney general's office, 1
11 Q. Okay. :
12 A. I didn't mean for -- the one for the
13 Department of Health was definitely filed anonymous.
14 Q. What is your definition of anonymous?
15 A. Not giving your name.
16 Q. Okay. So you used the anonymous to
17 describe the Department of Health complaint as well
18 as the Pennsylvania Office of Attorney General
19 complaint. 50 did you or did you not give your name :
20 jin either of those two instances?
21 A. I did not to the Department of Health. TI
22 did to the attorney general. |
23 Q. Okay. So in paragraph 18 the portion |
24 describing the anonymous complaint is wrong?
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1 A. I guess, by my own definition, yeah, then
2 it was wrong. I used the wrong word to classify
3 that.

4 Q. Okay. And, I'm sorry, I believe you
answered this but I just want to make sure. You did
not review your federal complaint in preparation for

5

6

7 today's deposition, is that right?
8 A. No, I did not.

9

Q. Okay. In addition to the documents you

a look at over the weekend in preparation for today's

12 deposition?

23 1984, but I got pregnant and I got married and moved

24 overseas to an airforce base, and I got my GED in the

13 A. That was pretty much it. :
14 Q. Okay. Ms. Lewen, what's your date of
15 | barth?
17 Q. Where were you born?
18 A. pittsburgh, Pennsylvania.
19 Q. Did you graduate from high school? |
20 A. No, I did not. I got a GED.
21 Q. What year?
22 A. {L was supposed to graduate high school in

1

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1 year 1991.
2 Q. I'm not familiar with GED testing abroad?
3 A. No, no ~- I'm sorry. |
4 Q. Did you complete the requirements
5 stateside or were you still abroad?
6 A. I was stateside. It was in South |
7 Carolina.

8 Q. Did you attend college?
9 A. ves, I did.
11 A. I attended several colleges. T attended :
12 the -- the first one that T went to was Sumter County
13 Community College in South Carolina. And I took some
14 courses at the University of South Carolina, and I
15 took -- I went to nursing school at Lamar University |
16 in Texas, and I've attended -- I got a bachelor's
17 degree in sociology at Edinboro University of
18 Pennsylvania. |
19 Q. When did you graduate from Edinboro?
20 A. 2007.
21 Q. When did you obtain your nursing degree? |
22 A. 1995.
:
23 Q. And that was in Texas?
24 A. Yes.

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1 Q. Okay. Did you have to take licensing
2 exams after you completed your nursing degree?
3 A. Yes.
4 Q. And what were those exams?
5 A. That was the NCLEX.
6 Q. I'm sorry, could you say that again?
7 A. NCLEX, N-C-L-E-X.
8B Q. Can you -~ I assume that that is an
9 acronym for something?
ae 28 a pgs Sey oe Eo" ERENK Ew i
11 would be the National Council of Licensing Examiners,
12 or something like that.
13 Q. Okay. And were you ~~ after receiving
14 your nursing degree were you an LPN or an RN, ox what
15 was your classification?
16 A. In Texas I was an LVN, which is licensed
17 vocational nurse but that's the equivalent of an LPN, .
18 which I was an LPN in Pennsyivania, and then also in |
19 Rhode Island I was, 4 few years ago.
20 Q. Okay. So you graduated with your nursing
21 degree; you took the exam. Did you pass them on the
22 first try?
23 A. Yes.
24 Q. and did you begin working as a licensed

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1 vocational nurse in Texas? |
2 A. Yes.
3 Q. How long did you work as 4 licensed |
4 vocational nurse in Texas?
5 A. For four years. And then I moved to
6 Pennsylvania.
7 Q. So from 1995 to 1999, you worked as an
8 LV -- vocational nurse in Texas?
. A
9 A. Yes.

LO
11 A. Yes.
12 QO. And did you need to take any additional
13 licensing exam to be licensed in Pennsylvania?
14 A. No. It's the license by reciprocity.
15 Q. Reciprocity?
16 A. Yes. |
17 Q. And so in 1999 you began working as a
18 licensed practical nurse?
19 A. Yes.
20 Q. And where did you begin working in 1999? |
21 A. I worked at a nursing home in Greenville,
22 Pennsyivania called White Cliff Nursing Home. |
23 Q. And how long did you work there?
24 A. About two years. |

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1 Q. Where did you go from there? So it would
2| be 2001.
3 A. From there I went to a nursing home |
4 called Autumn Grove Care Center, which was in
5 Harrisburg, P-A -~ of Harrisville P-A.
6 Q. Okay. And how long did you remain there?
7 A. About two years.
8 Q. Where did you go in 2003?
9 A. Then I went to a nursing home called
FO grove-Maner Tur Go HOM col Ona Pree Samer

11 I was working there I also had gone back to school at
12 Edinboro University and worked towards my bachelor's
13 degree in sociology.

14 Q. The nursing degree that you obtained in
15 1995 was that a Bachelor's of Nursing or an

16 associate's degree?

17 A. Neither. Actually, to be technical about
18 it, it's not actually a degree. It's a diploma.

19 Q. Okay. Could you please explain the

20 difference, because I was operating under the

21h assumption that you earned a degree in nursing?

22 A. No, I do not have a degree in nursing. Lt
23 have a diploma in yocational nursing, which is the

24 same thing as practical nursing.

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1 Q. How long was the program?
2 A. A one-year program.
3 Q. I see. Okay. In 1999 when you began

4 working at the nursing home -~ I think you said

5 Greenville -- and then you switched in 2001, why did

6 you leave? Why did you switch jobs?

7 A. Higher pay and a Little bit closer to the

8 home.

11 A. Yes.
12 Q. Did you have any disciplinary issues

13 while working at any of those nursing homes that you

14 identified?

15 A. No.

16 Q. * Okay. While you were in the nursing

17 home starting in 2003, when you began your bachelor's
18 degree at Edinboro University, did you work full time
19 and go to school full time?

20 A. Yes, I worked -- I worked -- it wasn't

21 guite fuli-time hours. They paid me —~ I worked on
22 the weekend three, 12-hour shifts. I was working as
23 a nightshift supervisor, actually, because they only

24 had 59 residents, so an LPN could be a supervisor.

eT

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1 And -- I'm sorry, what was the question? I lost my

2 train of thought. What was the question?

3 Q. That's okay.

4 MS. WARSHAFSKY: Ellen, would you able to

5 read the question back to us.

6

7 * {Question read)

8

9g A. I was working 36 hours a week but getting

forp para E540; “end-Ehen i waa got te. senvel tse
11 credits per week -~ ~ mean, per semester, however ;
12 many hours that worked out to ina week was not a ~~
13 I mean, you know how -- I'm sure you are aware of how |
14 coliege schedules work. It's not a full, eight-hour
15 shift per day.

;

16 Q. Sure.
17 A. Tt was, you know, depending on what
18 courses I was taking, it would be maybe three oF four
19 hours a day Monday through Friday.
20 Qo. Okay. And you continued working at the
21 nursing home until you obtained your sociology degree |
22 in 2007?
23 A. actually, the last year there I took off
24 and I just went to school.

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| Page 18
1 Q. Okay. So you quit working at the nursing
2 home in --
3

A. "6,

ea HE ER RA Eimaast

4 Q. '6?

5 A. Yes.

6 Q. Okay .-

7 A. I think it was the wintertime of 2005,

B slash, 2006. I don't know the exact date, but it was

Sgn Soe HEL eocnnar Tens DTU PEN ELH E

9 the wintertime of 2005 and 2006.

LU a neces “Seeasning

11 Edinboro University what was your next employment?
12 A. My next employment ~~ My parents were

43 | declining in health. I went for the summer to Texas,
14 and 1 worked for a staffing agency in Texas, Maximum
15 Healthcare Staffing Agency. 1 worked in several

16 nursing homes that were recovering from the

17 hurricanes that had gone through there, Hurricane

18 Katrina and Hurricane Rita, and the staffing, you

19 know, a lot of the nurses had left the area.

20 So the nursing homes were being basically
21 run by staffing agencies trying to rebuild, and so I
22 did that. And then, also, I worked in the Texas

23 State Penitentiary, staffing agency, and then I

24 returned to Pennsylvania to go to grad -- I attempted

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1 to go to grad school at Edinboro University to get a
2 master's degree.
3 Q. Before we get back to the attempted grad |
4 school, how long did you remain in Texas to take care |
5 of your parents?
6 A. For the summer.
7 Q. So just the summer of 2007?
8 A. Yes.
9 Q. And you worked at all of those places
oO : =
il A. Yes. It was staffing agency, sort of one :
12 place this Gay; another place the next day- |
13 Q. Oh, so you were being staffed by a
14 staffing agency?
15 A. yes. I was filling in.
16 Q. I see.
17 A. Nursing homes, home care as well, home
18 healthcare and then the Texas State Penitentiary.
19 2. So then you returned back to Pennsylvania
20 in the fall of 2007?
21 A. Yes.
22 Q. And please explain to me what you mean by
23 attempted to get into a master's program at Edinboro? |
24 A. Well, I was accepted for the master's
4
|

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3 shooting pistol that I knew I couldn't keep in the

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A
1 program and I went -- 1 was going to stay in the :
2 dorms, but I had -- it was a .22 caliber target
;

4 dorms, so I tried to store it with the campus police,
5 which the first police officer that spoke to me said
6

it wasn't a problem; and he wrote down the

See ee atte er en Te Fer unr et eee ait stan ae REE Le VEST

7 registration number and gave me a receipt for it and
8 sent me on my way.
9 And then later that night the campus

= SG PULTE Uinery chet rnomas Nels

11 and interrogated me about it and told me that I had
12 committed felonies and all kinds of stuff -- he and
13 another administrator named Kahan Sablo were there,

14 and they said if I just didn't say anything about it,

a unseaicers e aC eD or TNE) SIE TSE LE

i5 they would just let me leave. And they paid for me

16 to spend the night ina motel off campus, which I

17 thought was very unprofessional, but, anyway, Y did
18 that.

19 I just left and later I complained about
20 it and wrote letters and actually I tried to sue them

21 in federal court as well as for civil rights

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22 violations; but I had waited too long to file it, so
23 it was dismissed on statute of limitations.

24 Q. Okay. What master's degree were you

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ea nT

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1 attempting to pursue?

2 A. The Master of Arts and Social Sciences,
3 M-A-S-S.

4 Q. Okay. Who was in Pennsylvania that

cee one es ar aa eae MER RUNS Senne

5 caused you to return back to Pennsylvania from Texas?
6

A. My family. My daughters and my

7 grandchildren.

8 Q. Okay. How many kids do you have?
—Y A. Ll have a total of three, but I haven't
cecbaSgersny- sor simee-he-was-teny—and-Retsess Kee Tae

11 20s now.

12 Q. Okay. Ms. Lewen, are you currently

13 working in any capacity?

14 A. No, I'm not.
15 Q. Are you on disability? |
16 A. Yes, I am.
17 Q. How long had you been on disability?

18 A. Since last May.

19 Q. And by last May we're talking about May

20 of 2018 or May of 2019?

21 A. 2019.
22 Q. And what is the disability?
23 A. Posttraumatic stress disorder. And

because of my age, they used the grid system and

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counted things like my old back injuries from

1

2 nursing, knee -~ arthritis in my knees.

3 Q. Okay .

4 A. And my age, as I said, age and

5 educational level. As you are aware I suffered a

6 nervous breakdown from these legal proceedings in the
7 year 2016, '17 and the attorney for the defendant
8 reported me to the Pennsylvania Board of Nursing, and

9 they punished me for having a nervous breakdown; and

TU “Ty Tae sS ERS eh EE alesse eh
11 Q. What do you mean damaged? Do you have an

12 active nursing license right now?

13 A. No, it's suspended.
14 Q. When was it suspended?
i5 A. i wish I had my paperwork in front of me.

16 It was suspended -- it was suspended twice actually.

17 Once was temporary and then I had to go see the

18 psychiatrist for the state, Dr. Robert Webstein, and
19 on his recommendation he said that he feit I couldn't
20 practice nursing competently because of having a

21 history of mental illness; and so they suspended it

22 the second time last wintertime ~- I'm sorry, Tim not

23 trying to be deceptive. II just don't remember the

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1 Q. No, that's okay. So it sounds to me like

2 it was temporarily suspended at some point in 2017?

3 A. Yes.

4 Q. and then permanently suspended -- you

5 were -- I guess, the suspension became permanent in

6 2018?

7 A. 2018 or -- I think the actual order

8 came -- it might have been 2019 by the time the

9 actual order came. It's in --

ae 5 Se gak
11 was the adjudication order from the... :
12 A. From the Board of Nursing.
13 Q. Department of States?
14 A. Right. From the Board of Nursing.
15 Q. And is that the one that you attempted to
16 appeal and it was affirmed? |
17 A. Right. Yes. My argument was because I |
18 had never done anything wrong as a nurse, they |
19 shouldn't have disciplined me based soleiy on the
20 history of mental illness. But they said that ~~
21 they felt that the testimony -- their expert
22 witness's opinion was all the evidence that they |
23 needed. In his opinion, you know, I was not |

competent or whatever.

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Q. Have you attempted to obtain a nursing

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i
2 license in Rhode Island since you've been living
3

there?

4 A. No, I have not. Honestly, I'm still

5 traumatized by what happened with this situation. I
6 mean, even just thinking about it right now, the

7 thought of going and applying for a nursing license
8 and having any of this happen to me again, my paims

9.jare sweating. I have not attempted to —~ I have no

11 to even attempt to get a nursing license.

12 Q. Okay. After being terminated from

13 Soldiers’ and Sailors' on March 14, 2016, did you
14 apply for any positions, any other jobs?

15 A. No, I did not. I was trying really hard

17 Home. And then fi had a nervous preakdown, as Ii said,

19 Q. I apologize for asking you about this,
20 but it is part of my job. When you say "nervous
21 preakdown," could you explain to me what happened,

22 what resulted, if you went into 4 hospital facility

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16 to get my job back at the Soldiers’ and Sailor's

pretty early into the legal proceedings.

23 er just give me an understanding of what occurred, if

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7 was, for lack of a better word,

8 ex-husband committed Interstate custod

9 and he hid him in Fiorida.

I -- I get sleep deprivation

Page 29
A. Well, the stress, you know, I couldn't

believe that I was terminated and the stress of it

caused me to not be able to sleep at night. And when

psychosis, and it's

5 happened to me before during stressful legal

6 proceedings. Once was with -~ when my son ~~ my son

abducted. My

y interference

T had sent him on his

ipl=yioit-to- Texas, and-he-“owed~

cacuanetseeaonr omntte ts
EUR Ca Rs

11 due child support 50 he took h

im and hid him in

12 Florida. And then I found him and tried to get him

13 charged with contempt of cour

t -- a long story; but,

14 anyway, when { got wrapped up in that legal

15 situation, J] also had had a nervous breakdown. And

16 then with the situation involving Edinboro University
17 when I was involved in that legal situation, I had a
18 nervous breakdown. and as I said, what happens to me

19 is I get sleep deprived and then I get sleep

20 depravation psychosis. And I had said to the

21 attorney for the DMVA, his name is Steven Bachinsky,

22 t offered to donate my case for research -- for

23 military research on the effect

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people who have PTSD, and they did not accept my

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1 offer. They just continued to bully me and referred

2 me to the board of discipline of my nursing license.

3 Q. When you say they continued to bully you,

4 who are you referring to?

5 A. The defendants.

6 Q. Specifically with regard to Ms. Raymond,

7 how did she bully you?

8 A. Actually, I don't think at that point she

9 was acting through her attorney. But where the
POY aby ig WOULe"COMe Des :
il she should have entertained the idea of a settlement
12 agreement. But she had the free attorneys defending
13 her and so she didn't entertain anything like that.
14 Q. When you say "at that point," what point
15 are you referring to?
16 A. At that point that was in the summer of
Ll? 2016.
18 Q. So after your termination?
19 A. Yes.
20 Q. Okay. So is it your testimony that she
21 wasn't bullying you, but you felt bullied by others?
22 A. Through the attorney that was defending
23 her, yes.
24 Q. Could you explain that to me. I don't |

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j Page 27
1 understand that.
2 A. Well, at the civil service hearing he
3 actually just -~ and at the unemployment compensation

A hearing, he was standing there yelling at me, or at

5 least that's how I perceived it as the person sitting
6 there, and fi felt bullied; particularly, under the

7 circumstances when they had the evidence in their

8 possession showing that lI had reported elder abuse.

9 I had reported some very serious things,

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i1 facility. I felt that they should not have

12 approached it like that. There should have been a
13 settlement agreement early, early, early on in this.
14 But it was just piled on, one thing, you know ~~ and

15 all the state government agencies just helped to pile

Sr ren an SPAT MN rca a NSIS Taran nnee nes ana

16 it on.

17 Q. Ms. Lewen, the elder abuse that you were

enna

18 referring to is that the same as the facility

19 contributory neglect we talked about at the

MAE a eon NIST

Tanna

20 beginning?

2t A. No. I had reported -—— well, that I would
22 say is actually neglect, which is a part of elder --
23 4t's a type of elder abuse, but what I was actually

24 referring to was the sexual assaults that I reported

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1 to the attorney general's office.
2 Q. Okay. And that was the conversation we
3 had in the beginning of the deposition about whether
4 it was anonymous or not anonymous, right?
5 A. I guess.
6 Q. Well, do you recall that we spoke about,
7 specifically, paragraph 18 of your federal complaint; |
8 and I asked you about the anonymous complaint of /
9 elder abuse and neglect with the pennsylvania office
FU} ef -Attomney
11 that it was actually not anonymous because you had |
12 signed it with your name. So is that the abuse
13 allegation we're talking about right now?
14 A. Yes, I made one report to the attorney
15 general's office.
16 Q. Do you recall an approximate date of when
17 you made that report?
18 A. I just looked at that this weekend aiso.
19 Tt was around January of February of 2016, but they
20 didn't call me in to interview me until June of 2016. |
21 Q. Okay.
22 A. The day after my Pennsylvania civil
23 service hearing was the day that I was interviewed by
24 the Attorney General Bureau of Criminal

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1 Investigation.
2 Q. Okay. Do you recall what the outcome of
3 that investigation was?
4 A. As far as I know the investigations is

5 still ongoing. They have never contacted me and toid

6 me that they've completed it.

7 Q. Okay. Let's go back to the time period

8 immediately following your departure from the

9 Soldiers' and Sailors’ Home. How long were you

A. I was employed there from the fall of

12 2014 until the spring of 2016, about a year and a

13 haif.
14 Q. Okay. Did you have any retirement

15 benefits that vested during that period of time?

16 A. Yes, I did.

17 Q. Are you collecting those retirement

18 benefits right now?
19 A. They send it to me as ~~ they

20 automatically deposited it, I believe it was, a long

21 time ago in 2016.

22 Q. So was it the one-time payment?
23 A. Yes.
24 Q. Do you remember how much it was?

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1 A. Not exactly. It was a few thousand
2 doilars.
3 Q. Okay. And what about a pension. Did you
4 receive any pension benefits during your one and a
5 half years at the Soldiers' and Sailors’ Home?
6 A. That's what they -- that was included in
7 that. I was vested for a pension, but I don't have
8 that now. They've refunded that, or they paid me for
9 that.
TU @
11 and the same?
12 A. Yes.
13 Q. And that was a one-time payment right
14 after you left?
15 A. Within a few months after I left, yeah.
16 Q. Okay. I know that you had applied for
17 unemployment benefits and those were declined. Did
i8 you ever receive unemployment benefits?
19 A. No.
20 Q. Ms. Lewen, when you first started working
21 at the Pennsylvania Soldiers' and Sailors' Home in
22 2014, were you made aware of certain policies
23 regarding standards of conduct and employee conduct?
24 A. Yes.

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1 Q. More specifically, at the time that you
2 begin your employment with the Pennsylvania Soldiers'
3 and Sailors' Home, were you familiar with the DMVA

4 Standards of Conduct and Work Rules, the Workplace

Se ald Pini ana ROPER RRA ES

5 Violence and Workplace Bullying Prevention Policy and

6 Management Directive, 205.33, which is workplace

7 violence.

8 A. Yes, among others. There was many, many

3 policies that they had you read and sign.
=: yg | ge ore 8
11 signed all of the ones that you were required to read
12 and sign?
13 A. Yes, I did.
14 Q. Did you read them to the point where you

15 had an understanding of them?

16 A. I believe so, yes.

17 Q. Okay. Correct me if what I am about to
18 say is wrong. On October 8, 2014, you completed

19 training in discrimination and sexual harassment

20 prevention, is that true or false?

2k A. I wouid have to agree with you. Without
22 seeing it in front me, I would have to just take your
23 word that it's something that I signed for.

24 Q. Do you have an independent recollection

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1 of completing a training dealing with discrimination

and sexual harassment prevention?

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A. T have a recollection of completing all
4 of the required policy training. There was a lot of
5 them, back injury prevention training, you know, the
6 standard things that you, you know, read and sign of
7 watch videos on when you're hired at a place.

8 Q. Okay. And those trainings include

9 Standards of Conduct and the Commonwealth IC,

11 that as well?

12 A. Yes.
13 Q. When you began your employment at the
14 Pennsylvania Soldiers’ and Sailors' Home, were you

15 provided with certain relevant policies and

16 handbooks?

ana aL Een Ha ar i Sa EE

17 A. t don't actually remember being provided

Senchnanas

18 with a handbook. But I probably was because I

19 believe that they do give you a handbook when you're

ST een eae pS

20 hired.
21 Q. If you recall, Ms. Lewen, did you sign
22 this particular handbook acknowledging your receipt

23 of it and your review of it?

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24 A. T don't recaii-doing that but I probably

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ee nea

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1 did.
2 Q. Were there subsequent verses of this
3 handbook that you had to review during your
4 one-and-a-half years of employment at the
5 Pennsylvania Soldiers' and Sailors' Home?
6 A. i don't recall there being different
7 verses of it. No, I don't recall.
8 Q. Okay. Ms. Lewen, when you first began
9 working at the Pennsylvania Soldiers' and Sailors’
Tu Poe ay
11 position? :
12 A. Licensed practical nurse. i
13 Q. And what were your responsibilities?
14 A. Supervision of nurse assistants, pass
15 medications, performing treatments, documentation of
16 the care provided; the standard things that a
1? Licensed practical nurse does in a nursing home.
18 Q. And were those the standard things that
19 you, as the licensed practical nurse, did at the |
20 nursing home?
21 A. Yes.
22 Q. Who was your supervisor when you first
23 began working there?
24 A. Raymond Ham.

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1 Q. Did you receive any promotions while
2 employed at the Pennsylvania Soldiers' and Sailors'
3 Home?
4 A. No.
5 Q. Did you receive any demotions while you |
6 were employed there? |
7 A. No.
8 Q. Did your responsibilities change during
9 the year-and-a-half time that you spent working
LU there?
11 A. No. |
12 Q. Okay. in paragraph 17 of your complaint,
13 and again, I understand you did not review it and you
14 don't have it in front of you, but if you would just
15 take my word for it, you claim that you were accused |
16 of, quote, neglect of duty." Do you recall that in
17 your complaint?
18 A. Yes.
19 Q. Who accused you? |
20 A. It was the Department of Military and
21 veterans Affairs and -- Barbara Raymond had -- I
22 assume she was the administrator of the facility, and
23 { know that in her answers to the interrogatories
24 she's tried to kind of shift the blame from nerself

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1 on that.
2 say, of the Soldiers! and Sail
3 incident where 4 woman -- when
4 their information in November

5 Department of Health, and ther

6
7 that happened in August of 201
8 unit, Unit B, that I didn't no

9 put because of the fact chat I

and

But it was the administration, let's just

skin breakdown on 4 patient that they had discovered

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ors' Home, involving an
the state came in for
of 2015, the State

e@ was an issue with

5. It was a skilled
rmally work on and -7
had been one of the

in. working on that unit

i1 during 4 certain time period,
12 who was disciplined. There wa
13 that were disciplined; because

14 got cited, that was part of th

T was one of the nurses
s a bunch of nurses

of the fact that we

Sr an ET eC TER TS a renee cif HTH a SRE en PHS RR aS ene z
i iF nkie Tae Se sa ae ST ace a aN ATURE SS Sano ee

e administration's plan

45 of correction was to discipline nurses. i
16 Q. Do you remember what the citation was
17 for?
18 A. The citation was because the woman's skin
19 had broken down and the particular night, it was the
29 night of -- the night that 1 worked -- Like tT said, I
21 didn't normally work on that unit -- but the night

22 that I worked it was the night

23 into September ist.

of 2015?

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of August 3ist going

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A. Yes.
Q. Okay - :
A. And there was a patch on the woman's :

buttocks that was supposed to have been checked or
changed that night and I missed it. I didn't lie and
say that lL did it and l didn't do it and not document
it. Tf completely missed it, because I was quite
overwhelmed that night. 1! had 75 patients as a

treatment nurse. And it was also the night of the

ou change your

books over to the next month, and there's aiways a
lot of chaos on changeover night.

And then coupled with that -- on top of
that was the fact that I was working on a unit that I
wasn't familiar with, and l had 75 patients that I
was in charge of as a treatment nurse. And so I just
missed it as a human error: and 1 felt, you know,
that's when I responded with the allegation of
facility contributory neglect because I felt like it
wasn't neglect on my part.

There was also ~~ some accountability for
that should be placed on administration for assigning
that type an assignment to a nurse. I think the

other nurses ail just took their discipline and

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sucked it up, and they're probably still working

San earn mama eR

there, but I didn't. I just felt like I couldn't
agree that T was the one that was guilty of neglect
that night. I tried my best under the circumstances.
Q. Okay. And what was the nature of the
discipline that you received that day?
A. Well, like ! said, at first they tried to
say neglect. They tried to charge all the nurses

with neglect of duty. And then I responded with that

nici butory. negiect and then

they gave me a lesser discipline of oral reprimand.

I don't remember exactly how they worded it, but it
was like a lesser charge.

Q. Okay. Going back to my initial question
about this regarding who specifically accused you,
you said it was the administration. Was there an
individual specifically that accused you?

A. I don't remember. But as I said it was
administration. 1 don't know whose actual signature
was on that.

Q. Okay. Did anybody speak to you about
this?

A. Again, 1 don't want to say ~~ if I

remember correctly, I think that the way that they

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handled those things was that your immediate

supervisor signed it. 1 think -- if I remember —-~

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you know, my recollection, 1 don't know. But I think

4 that that's why 1 remember that it was your immediate

Sn ne NT PCAN nin LOE SHEET EET Se ean Oa oT SO TET SE

5 supervisor that actually doled out the discipline
6 that had been determined by the administration.

7 Q. Okay. So that would have been Raymond
8 Ham?

9 A. Raymond Ham or Carolyn Williams, if I

Fintan nae

gt-said-t don't really

TES

i1 remember whose signature was on it. “But whoever —- |
12 if it was a supervisor's signature, it wasn't just
13 some sort of a discipline that that supervisor had

14 decided to do. It was because administration had

15 told them to do.

16 Q. Okay. In the next paragraph, we talked
17 about it in the beginning, that was paragraph 18, was
18 the anonymous and the confusion that we had with the
19 definition of the word?

20 A. Uh-huh.

21 Q. You indicated that you countered the

2a neglect of duty allegation with an allegation of

23 facility contributory neglect. You mentioned in your

24 complaint -- you refer in your complaint that it was

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1 an anonymous complaint that was made. Is it your
2 understanding that at some point the administration
3 found out that it was you who made this anonymous
4

complaint ~~ I'm sorry, anonymous claim of facility

5 contributory neglect?
6 A. If i have heard that that was done
7 anonymously, I didn't mean to have -- I didn't do

8 that anonymously. i handed it to my supervisor,

9 _-Raymond Ham.

11 in the beginning of this deposition, you confirmed
12 for me that the complaint filed with the Department
13 of Health on December 2015 alleging facility

14 contributory neglect was anonymous?

15 A. T'm Sorry, the complaint that I filed

16 with the Department of Health was not facility

17 contributory neglect. The complaint that I filed

18 with the Department of Health that resulted in the
19 four more citations it was on some things that had
20 happened involving neglect. And in one case I

21 believe one of the citations Was, [ reported because
22 plood had been withdrawn from the wrong patient, and

23 the family and the doctor had not been notified.

24 But the facility contributory neglect,

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that's a typewritten document that I handed in to
Raymond Ham to the administration there, that wasn't
what I gave to the Health Department, that was
completely different.

Q. Okay. So the facility contributory
neglect was a document you handed to Raymond Ham,
your supervisor?

A. Right.

Q. That was known to be from you?

Page 40

Q. Okay. So then there's an anonymous
complaint that you subsequently filed with the
Department of Health in December of 2015 that was, in
fact, anonymous?

A. Yes, that was anonymous.

Q. Okay. Understood. Thank you for
clarifying that, Ms. Lewen?

A. You're welcome.

Q. Ms. Lewen, in paragraph 26 of your
complaint, you claim that you were not offered
progressive disciplinary procedure. Can you explain

to me what that means?

A. As far as when I was terminated there was

no progressive discipline involved in that.

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Page aif
1 Q. What does the phrase "progressive
2 discipline" mean?
3 A, Like, three-strikes-you're-out-type
4 thing, you know, warn a person and then maybe give
5 them an oral warning and then give them a written
6 warning and then, you know, eventually there was no

7 more warnings; and you're terminated or whatever.
8 But there was nothing like that. She just wanted me

9 out of there fast.

Tenens Sanka one a conar eR Ran nea

11 entitled to a three-strikes-you're-out approach?

12 A. Common business courtesy.
13 Q. You were terminated due to workplace
14 violence, is that correct?
15 A. That's what they say, yes. I had voiced
16 concerns about workplace violence, and they say that
i7 I, myself, actually threatened workplace violence.
18 Q. Do you recall during a PDC talking about

19 it not being out of the realm of possibility of

20 bringing a gun into the workplace?

Sn IaTGaaa Tete oleae Prraciyo aoa eine eR ONE EEE Se MR aE TT

21 A. What I had said was -- I had been a

22 victim of workplace violence in the workplace. And
23 what I had said was they should -- I'm just
24 paraphrasing this -- but what I had said was that

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1 they should be careful about the existence of

2 workplace violence there by supervisors, because

3 these are the types of situations -~ rhetorically

4 speaking, hypothetically speaking ~~ these are the

5 types of situations where people go postal, is what I

6 said. And, you know, from the get-go, because they

7 needed to come up with some sort of protectural (sic) :
8 reason to terminate me, that was, you know, one of
9 the things that they said was that T had alledgedly
11 workplace. So -- g® ahead. I'm done. |
12 Q. No, please finish.
13 A. I think I'm done actually.
14 Q. Okay. You said that you were subjected |
15 to workplace violence. Who subjected you to
16 workplace violence?
17 A. There was a supervisor named Deborah

18 Cabreira, the day shift supervisor and right at shift

19 change at the end of the night shift going onto the

20 day shift, I had gone into the supervisor's office to

21 ask for an order for -~ a patient's skin was
22. macerated -- actually, I think I answered this
23 already in the interrogatories that you had sent me.
24 But I'll answer it again, a shortened version of

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that.
I had gone into the office looking for an
order that I needed for a patient and the day shift

supervisor, Deborah Cabreira, screamed at me, you
know, and called me stupid -- and I don't even
remember what all -- but then within a few minutes or
so, maybe within a half an hour of that, she sought
me out and she apologized, and she said that it was

because of the stress of Barbara Raymond was coming

following the Department of Health inspection that
had occurred in November. She said that she didn't
mean to take it out on me and, you know, she

apologized. It was just the stress level in the

En ara aa

facility.

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So then after that was when I had said to
Barry Blazek, in the off-duty Facebook messages, I
said something to the effect of she apologized, but
this is something that they need to address in this
workplace. When you have the supervisors going

around acting like this towards people --

Pep oa seen aes FP HO

rhetorically speaking, hypothetically speaking,
whatever ~- this is the type of things that makes

employees go postal in the workplace. This is

i
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" Nancy Lewen

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1 what -- they need to address this.
2 Q. Do you remember when this event was with
3 Ms. Cabreira occurred?
A A. It was in December. And those
5 interrogatories that you sent me that I answered I
6 put the exact date, because I looked it up.
7 Q. And this is December of 2015?
8 A. yes. JI think it was the winter of 2015.
9 I believe, it was the December.
a ee
11 you received on December 15, 2015?
12 A. That was stemming from that incident
13 where -- £ would have to see it actually, because
14 there was some other thing that a lot of the nurses
15 had gotten disciplined about too. It was an incident
16 that was stemming from those citations that we had
17 gotten by the state.
18 Q. You had mentioned when we talked about
19 the citations earlier that the discipline was
20 lessened to an oral reprimand. Do you think maybe
21 that is the oral reprimand?
22 A. Ido. I think that was it.
23 Q. Okay.
24 A. I never got disciplined up until I, you

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1 know, filed that allegation of facility contributory |
2 neglect. But I'm pretty sure that that was the same
3 incident.
4 Q. Okay. Could you please tell me about the |
5 written reprimands that you received on February 24,
6 | 2015?
7 A. T don't remember that, to be quite
8 honest. I know that there was something. And,
9 again, it was something that -~ it wasn't just me
Pee mer There..was other __
L

11 nurses as well, but t don't remember the exact i
12 incident that it pertained to.
13 Q. Okay. Do you remember anything about
14 that written reprimand?
15 A. 1 do vaguely remember it, yeah. It
16 seemed to me that they were starting to try to |
17 look -- they considered mé a troublemaker at that
18 point because I was saying things about insufficient
19 staffing and the sexual assaults, dignity issues and
4

20 whatnot; and f really -- I do remember that but I
21 don't remember what it was about. |
22 Q. Okay. And to whom are you making these
23 complaints about insufficient staffing and sexual
24 assault?

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1 A. Well, the sexual -- the resident dignity
2 issues involving sexual relations, that was in an
3 e-mail that was distributed to ali of the nursing
4 staff addressed to Kevin McGloughlin, the assistant
5 director of nurses. What I was saying was that these
6 people -- they were trying to say that they were care
7 planned to be appropriate for having sexual relations
8 with each other of something, but I mentioned that
2. some of them I thought were actually victims of
il to consent to sexual relations.
12 Q. With other patients?
13 A. With other patients, yes.
14 Q. Did you receive a response to that
15 e-mail?
16 A. No, Not directiy.
17 Q. What do you mean ‘not dixrectly"?
18 A. i think that the response that occurred
19 to all of my concerns was that she terminated me.
20 She, you know, fabricated these protectural (sic)
21 reasons. she took advantage of a co-worker who was
22 going through a divorce, and he was missing a lot of
23 work. I'm talking about Barry Blazek. She took
Z4 advantage of that situation and had him suddenly be

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1 her star witness in this thing to terminate me.
2 Q. Who is she?
3 A. Barbara.
4 9. Okay. Did you send Barry Blazek Facebook
5 messages?
6 A. Yes, I did.
7 Q. Were there numerous messages that were
8 sent that he did not respond to?
9 A. yes, there were.
0 ¢- = an6
13 he indicate to you that he did not wish to
12 communicate with you anymore because he felt
13 uncomfortable?
14 A. Well, what had ~~ he responded. We had
15 said that we were going to go on an outing to the
16 Cleveland Museum of Art. And then he did
17 conveniently respond and say that -- I guess, ~ used
18 the date word instead of saying calling it an outing
19 or something like that. I used the date word, which
20 scared him. As the way that he testified at the
21 civil service hearing, he said that that scared him
22. when I used the date word, so then that's when ~~
23 he wasn't 4nvolved -- he wasn't interested in going
24 on an outing anymore to the Cleveland Museum of Art.

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1 Q. Okay. Were there other sexually explicit
2 messages that you sent to Mr. Blazek that he did not
3 respond to?
4 A. No. And I think that something that
5 needs to be put on the record, if you recall, and
:
6 maybe you don't recall, around that time period the |
7 then adjutant general of the Department of Military
B and Veterans Affairs' name was Joseph James or James
9 Joseph, one or the other. :
10 And he had been suspended for an
Te +
12 and then, eventually, he did resign; and that's when
13 Anthony Carrelli came in. And in the workplace
14 because of that and then, also, because of these
15 sexual encounters between the residents going on, a
16 lot of the people in the workplace, not just me, were !
17 making sexual innuendos, and I think --
18 Q. To who? :
19 A. Just to each other, just about anything,
20 just sexual innuendos, you know. So, you know, this
21 whole thing they tried to make it seem like I was
22 sexually harassing Barry Blazek. If you read through
23 the Facebook messages, I never sexually harassed i
24 Barry Biazek. |
|

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1 Q. Do you understand that he felt like you

2 may have sexually harassed him?

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3 A. IT think that Barry ~~ first of all, you

4 would have to g® back to what was going on in his
5 life as far as —~
6 Q. I understand that, Ms. Lewen, and I'm |

7 sorry to interrupt you, but we're not talking about
8 what's going on in his life. We're talking about

9 what went on in yours.

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11 though. it's important for the context. He was ail

12 over Facebook talking about how upset he was from -7~

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13 his ex-wife had cheated on him and, you know, left

14 him for another man. She committed adultery and he
15 was very upset. And I was trying to tell him that,
16 you know, just because this woman hurt you that way,
17 you know, get over it, move on. He's missing so much
18 work. He was in trouble, you know, and I was trying

19 to raise his self-esteem. I was trying to be helpful

re none a OGURA EAT AEE

20 to the man.

21 Q. Were you friends with him before he
22 started experiencing marital troubles?
23 A. Oh, yeah, we were friends. I mean, I

24 would say worker friends. We weren't best friends,

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ST ee here See ear eea ee

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1 no, but we were co-worker friends.

2 Q. Why did you think that sending him links
3 to websites showing different sexual positions was

4 going to help him deal with the adultery that his

5 wife allegedly committed?
6 A. Actually, I'm going to object to that on
7

the grounds of relevance.

8 Q. I appreciate the objection, but this is a

if you can answer the

9 deposition and pretty much,

11 A. Again, that wasn't directed toward Barry

12 Blazek. Okay, all of --
13 Qo. So the messages —~
14 A. Many of the people in the Soldiers' and

15 Sailors’ workplace at that time were speaking to each

16 other in sexual innuendo's as a joke, maybe as a way

17 of coping with what was going on. Many of us were

18 not happy with the fact that these, you know,

19 patients were being sexually assaulted and maybe, you

20 know, I don't know. I don't really know what to say

21 to defend myself about that. But I think as I said,

22 that's part of the protectural (sic) reason that were

23 given for terminating me. The actual --

24 Q. Ms. Lewen, but you're not disputing the

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fact that you did indeed send him Facebook messages

1
2 with links to websites with images of the sexual
3 positions, right?
4 A. yes. No, I'm not disputing that. It's
5 the truth.
6 Q. Okay. And subsequent to that you
7 followed up with another message talking about a |
8 particular sex position that you enjoyed, is that
9 correct?
an of G a aD Tees we HO “On cop —¥ Ou te ‘exaerly sats : L :
14 right. it was being on top. and, again, f wasn't
12 really talking about the sexual position of being on
13 top. I was talking, using an analogy of, you know,
14 it would be good for the workers there at that place
15 to be on top instead of being beaten down.
16 Q. So the best analogy you could come up
17 with was an explicit sexual position? |
18 A. Well, because we were ali speaking in the
19 workplace with sexual innuendos when our, you know, |
29 the adjutant general had been suspended for sexual |
21 harassment.
22 Q. When did that suspension occur?
23 A. IT believe it was January or February,
24 something like that.

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Q. Of what year?

of 2016. And as I

been only in that position for

Q. Did you send sexua

to anybody else other than Bar

A. No.

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said I don't remember

if he was Joseph James orf James Joseph. But he had

a few months and then

that's when he had the sexual harassment thing.

lly explicit messages

ry Blazek?

Q. Had you spoken with your colleagues in

were engaged in?

know, a single woman living at home, you know,

and hire a pool boy, or whatever -- it was a joke.

Q. So you did not feel --

A. We all joked about ~~ IT mean, we were
nightshift workers for one thing, you know, sleep
deprived half the time, working short staffed half
the time. And we did have comradery and we did joke
with each other. I mean, even for that matter my

supervisor, Raymond Ham, joked with me. T was, you

alone.

And he joked with me that rather than Looking for a
husband or a man to date or something, he joked with

me that I should just hire, put ina swimming pool

took it as a joke. I considered it a joke.

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1 A. I did not --
2 Q. -- bullied by these comments?
3 A. I did not feel intimidated. I did not
4 feei bullied, harassed, sexualiy harassed, nothing

5 Like that. I thought it was funny. The way that he

6 said it to me, I thought I was funny.

7 Q. Did the fact that Barry Blazek did not
8 respond to numerous messages, including the 40 you
9 sent him in the course of 24 hours, did that make you

12 A. At a certain point I realized they
13 weren't taken as funny -~ and, obviously, II confided

14 in him that I had been the person to make the

15 anonymous complaint to the Department of Health; and

16 I confided in him that I had made the complaint to

17 the attorney's office. And, obviously, at a certain

18 point I probably did realize that that was the person

19 that I should not have confided in.

20 QO. What made you realize that?
21 A. When I got terminated on a complaint, on
22 this trumped-up Barry Blazek -- and he, himself,

23 testified at the civil service and the unemployment

compensation hearing that he never actually

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1 complained about my pehavior to administration.
2 Q. Ms. Lewen, you sent a letter to his
3 estranged wife. Tf think it was in the beginning |
i
A of -- |
5 A. Yes. |
6 Q. -- March of 2016?
7 A. Right. But I think it was actually |
8 February of 2016, I think.
9 Qo. So you send his estranged wife a letter

LO ut -her-soon to be ex-husband?

il A gh-huh. —
12 Q. Do you have any thoughts now that it's

13 been a few years since you did that as to how

14 inappropriate that was?

15 A, First of all, I'm going to object to the
16 grounds of relevance pecause it happened off-duty,
17 but, no -- given time to think about it, no. If 1
18 ever saw a woman who might be in danger because of
19 something that her ex-husband was doing, I would

20 stand up and I would try to help that person again.
21 ~ don't regret trying to, you know, being concerned
22 about that. I don't regret that at all.

23 And as I said, I was off-duty. She never

24 compiained. He never complained, you know, it was

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1 something that Barbara Raymond, you know, twisted
2 around to try and make it into some sort of workplace |
3 violence, you know, policy violation to get me out of
4 there because of the fact that I was voicing too many
5 concerns about the elder abuse and neglect.
6 Q. Do you see a problem with the fact that
7 you did an independent Internet research about
8B Mr. Blazek's children?

9 A. It took about 30 seconds from the

LD: information he had-on.bi.

i1 know, that this was a single woman living at home /
12 with two kids and the exact address of where she was
13 at. I don't see a problem with that, no. I don't
14 see a problem with that.
|
15 Q. Okay.
16 A. What I see a problem with and what I have |
17? always seen a problem with was that these off-duty
18 things that were certainly my right to be expressing :
19 concern for this person's well-being were twisted
20 around and used as protectural (sic) reasons to
21 terminate me from the workplace to get me out of |
22 there, you know, swiftly, quickly, you know, and just
23 make an example of me. You know, they made an
24 example of, this is what happens to people who voice

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1 concerns about our abuse and neglect. This is what
2 happens.

3 Q. A few moments ago you had testified

4 that -- I believe, and I don't want to put words in

5 your mouth, that f think you said that Mr. Blazek

6 never complained about the messages that you sent

7 him, is that correct?

8 A. Right. He did not complain to the

9 administration at the Soldiers’ and sailors’ Home.
TG je

11 | following statement that "On or about March 7, 2016,
12 Blazek submitted a written complaint to the
13 appointing authority about appellant's Facebook

14 messages in her letter to his wife"?

15 A. There was something that -- I don't know
16 if he actually -- I mean, he testified that he

17 submitted it, but that was after I was removed from
18 the workplace. I was removed on March 2nd, and then
19 he had testified later that he had not actually

20 complained about me to them. He had mentioned what
21 was going on to the co-worker and then that co-worker
22 went to, I guess, to HR or Barbara Raymond or

23 whatever.

24 But that thing that he allegedly

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1 submitted on March the 7th was just a few little
2 cherry-picked things from the Facebook messages, and
3 it wasn't signed by him and it was typewritten, and
4 then the typewritten name Barry Blazek and then later
5 he did say, yes, it was him. How much of that was
6 truthful testimony on his part and how much of it was
7 just because he was trying to save his job, I don't
8 know.
9 But going by what he said, he did type
LU iP
11 the date was on it. It was about a week after I
12 was -- after they suspended me prior to the formal
13 termination.
14 Q. Okay. Why do you believe that he was
15 trying to save his job?
16 A. Because of excessive absences and -- I
17 believe there was also some other disciplinary
18 actions, but it was mainly excessive absenteeism. As
19 I said it's important to know the context of what was
20 going on. It was all over Facebook at the time how
21 his ex-wife wasn't cooperating with him with the
22 visitation of the kids, and it was almost as if she
23 was going out of her way to not be cooperative with
24 him; and so he was ending up calling off in order to

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1 be able to visit with his children and he was in
2 trouble.
3 And, eventually, later that year he did
4 end up going to the Veteran's Administration, 1!
5 understand, from what I heard from someone else. But
6 for that brief time period, he went from being
7 somebody with his head on the chopping block to being
8 Barbara Raymond's star witness in this termination of
9 me on these protectural (sic) reasons.
TU"
1i visitation or did you learn of this by looking on his
12 Facebook page?
13 A. He was just really blasting her on
14 Facebook. He had copied some text messages between
15 himself and his ex-wife and posted them on Facebook.
16 Q. So it was your assumption that he was
17 missing work because of his visitation; he never
18 actually told you that?
19 A. I guess you would say it was an
20 assumption. He was pretty open about it but, I
21 guess ~—
22 Q. Ms. Lewen, I did say it was an
23 assumption. Would you agree with me that it was an
24 assumption?

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1 A. I guess I do. I don't know that he did
2 actually specific say directly to my face -~ no, I
3 take that back. He did actually say to my face one
4 day when we had a face-to-face conversation on Unit D
5 of the nursing home. He did say to my face that it

6 was because of what his ex-wife was doing. I have no

7 proof to prove that conversation.

8 Q. If you recall, what did he say te you?

9 A. He said she was driving him crazy with
go = Tot CoO PSL a eee w.
11 schedule, not being Flexible with the visitation /
12 schedule in regards to his work schedule, and so
13 there was that conversation. But then there were
14 also the things that he had posted on Facebook, you
15 know, publicly about how uncooperative she was being,
16 and the stress that it was causing on his life and
17 insomnia and other symptoms of stress.
18 Q. Okay. So he was posting this on a public
19 profile, but he wasn't confiding in you with regards
20 to these specific things, right?
21 A. Well, that one conversation on Unit D
22 that was face-to-face that f don't have any evidence
23 of, you know, he did confide to me face-to-face. He
24 confided to everybody in the workplace face-to-face. :

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1 He was very talkative about what was going on with

2 his ex-wife.

3 Q. How many conversations, other than the

4 one that you just mentioned on Unit D, did you have

5 with Barry Blazek?

6 A. About what was going on with his ex-wife?
7 Q. Yes.
8 A. Two that I can remember. The other one

9 was on Unit A, again a very brief conversation during

“Stree “Crange.
11 Q. Okay. So two brief conversations and

12 numerous, numerous Facebook messages that were not

13 responded to. Do you see how that could create

14 hostility in the workplace?

15 A. I don't think so, because we very rarely
16 saw each other, number 1; and Number 2, I think's

17 it's the type of thing to where -- again like a

18 progressive disciplinary action would have maybe

19 resulted in scheduling it to make sure that we never
20 crossed paths with each other; but instead -~ you

21 know, the thing that never really sat well with me is
22 they took me off the schedule just so suddenly

23 leaving the place short staffed on a Friday night;

24 that wasn't in the best interest of those residents.

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1 This whole thing, you know, that was

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between Barry Blazek and I off duty, you know, really

2
3 truly it could have been handled differently had they

4 wanted to handle it differently. They didn't want to
5 handle it differently because they were looking for
6 protectural (sic) reasons to fire me because of the

7 fact that I had placed concerns about the elder abuse

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8 and the elder neglect. It could have been handled

9 much differently. It should have been handled much

il Q. Okay. We previously touched on the
i2 comments about getting a gun and shooting somebody
13 and you had indicated that it was meant to present a

14 possibility, but it's not something that you would

20 inappropriate analogy to make. I think that it's

15 do?

16 A. Right. I was voicing alarm. :
2

17 Q. But you understand that in today's :
|

18 society that is an inappropriate analogy to make? |

19 A. No, I don't think that that's a very :
5
:

21 important that we should possibly try to prevent
22 these situations from happening rather than reacting
23 to it afterwards.

24 Q. Okay .

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1 A. There is no place in today's society for
2 workplace violence by supervisors or administrators
3 or anybody eise. |
4 Q. Other than that one incident that you |
5 mentioned with Mrs. Cabreira regarding the workplace
6 violence, are there other ones that we have not :
7 touched on yet? |
8 A. Other what? Workplace violence?
9 Q. Examples of workplace violence, yes.

£6= Ds SERS me PAL SAna Ly ne ees
11 aware of a situation involving a nurse assistant -- I
12 can't even think of her name. I think her last name |
13 was Goodwine. But I hate to even tell you that
14 because if you mention it to Barbara Raymond, she's
15 liable to be harassed again. Let's just say that
16 there was a nurse assistant that they hounded and
17 hounded and hounded, really for no reason other than
18 because they were just -- Barbara Raymond and one of
19 the assistant director of nurse's named Nancy |
20 Flannigan seemed to just kind of, like they had a
21 need to pick on people for -~
22 Q. Were you present for any of the
23 interactions that they had with Ms. Goodwine?
24 A. I was present later on that night after |

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1 one of them had happened. She had gone, apparently,
2 to a doctor's office visit with one of the residents |
3 and -- |
4 Q. Who?
5 A. Ms. Goodwine.
6 Q. Okay. Can you tell me a date,
7 approximate date?
8 A. IT can't, no.
9 Q. So it was at some point in the year and a
cy
—F se
12 Q. And just to be clear, you did not
13 actually witness an interaction between Ms. Raymond
14 or Ms. -- :
15 A. What I witnessed was the aftermath where |
16 this nurse assistant was saying I guaranty you if
17 they talked like this to me off duty, I would -- I
18 mean, excuse my language but she would say, like, I
19 would beat their ass if they treated me like that,
20 you know, let's take this off the property, you know.
21 And I guess I just felt like, you know, they should
22 think about these things before they treat people !
23 subhumanly.
24 Q. Any other instances of workplace violence
|

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1 that you either observed or were a victim of?
2 A. No, not that I can recall.
3 Q. Okay. Ms. Lewen, who was Rhonda

4 Wilkenson?

5 A. She was an RN who worked at the Soldiers'
6

and Sailors' Home.

7 QO. Is there anything that you can tell me

ee cet een ERIS Fee Lo REE FEE IAS a RE LAAT

8 about her that pertains to your employment there or

9 your subsequent termination from there?

LU a. “PaiOW Ca CSS ae
11 shortiy before I was terminated -~- she was frustrated
12 one evening. I had come on for the night shift and

13 she had been working the evening shift, and she was

Se ETE Manet AHORA eee

i4 frustrated because she had been told by the evening
15 shift supervisor that part of her responsibility was

16 to keep an eye on Barbara Raymond's sister, who was a

eroded poe ae FeSO aaa oaba POA

17 nurse assistant there, who allegedly she was in some

18 sort of a relationship with a male nurse assistant

Tas en WoL gANe eakanes CT

Savin ypoyecni ie sa ere sasaeaa a SO

19 and allegedly they would sometimes go off in

20 different places; and they would have sex on the job
2i but because she was the administrator's sister she,
22 you know, didn't get in trouble for it or whatever.
23 And Rhonda Wilkenson had told me on that

24 particular evening that she was just tired of, you

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:
1 know, that shouldn't be part of her responsibility to |
2 babysit the administrator's sister to make sure she
3 wasn't having sex on the job with another nurse
4 assistant.
5 Q. When did she tell you this?
6 A. I don't know the date. I actually had --
7 the day of my PDC I actually filled out a witness
8 statement and turned it in regarding what she had
9 said.
16 g Sid that was-2°8
11 attend? :
12 A. No, that was the PDC that ¥ attended, the
13 ones after -- surrounding my termination. They
14 scheduled two PDCs and I attended both of them. And
15 at one of them towards the end I had mentioned about
16 that, and they said fill out a witness statement and
17 turn it in; so I did.
18 9. Do you know if anything came of it?
19 A. I have no idea. I was terminated.
20 Q. Okay. Did you have any personal
21 knowledge about these claims ef having sexual
22 relations -- |
j
23 A. No, I didn't -- |
1
24 Q. One moment. -- between Barbara Raymond's

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1 sister and another employee?

2 A. No, other than just the rumors in the

3 workplace.

4 Q. Other than Rhonda Wilkenson mentioning it

5 to you, did you hear it from anybody else?

can't really think of any particular names,

8 yeah, it was pretty much common knowledge among

6 A. Oh, yeah, many people talked about it. I
7

9 certain people at least that there was a4 rumor of

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11 what the rumor was, that they would go in some

12 stairway and they would have Sex.

13 Q. But you never saw it?
14 A. I never saw it, no. 1 don't reaily even ;
15 know those people. ! know who her sister is, but I

16 don't know, you know, I never really worked that

17 shift that much.

18 Q. Okay. I think we covered this,
19 just want to make sure that I have the dates
20 straight. When did you contact the Department of

21 State regarding certain deficiencies at the

22 Pennsylvania Soldiers' and Sailors' Home?
23 A. The Department of Health you mean?
24 Q. The Department of Health, yes.

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1 A. I believe that was at the end, that was
2 in November. And then they came in on my complaint
3 the first week of December of 2015.

Q. And you sent them a letter?

i

5 A. I did it online. They have an online
6 recording system.

7 Q. Okay. Before they came in in December of
8 2015, did you receive a response, either

9 automatically generated or a specific response?

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1 Q. Yes.

2 A. I don't want to swear to it, but I think

13 that they might have sent like an automated

4 response-type thing. I don't want to swear to it.

15 After they came in they did send me a written

16 response saying that they had found four

7 deficiencies, and that was public knowledge anyway.
8 Tt was posted on the website.

9 Q. Did you teil anybody about the complaint

20 that you filed with the health department?

21 A. I told Barry Blazek in the Facebook.

22 Q. How soon after the filing of the

3 complaint in November of 2015 did you tell him in the

4 Facebook messages?

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i A. ¥ don't remember exactly, but it was
2 around that same time period.
3 Q. Did he acknowledge receipt of the message
4A or respond in any way?
5 A. No, not that I recall.
6 Q. Were you interviewed as part of the ,
7 investigation conducted by the health department?
8 A. No, I was not.
9 Q. Ms. Lewen, if you recall, you sent me an
= oo
11 postings and discussions about ghosts, and you had
12 mentioned that, you know -- and I'm quoting from the
13 e-mail -- "believe me when I say that on a geod day I
14 do notice ghosts; but when I get sleep deprived, I
15 have a unhealthy awareness of ghosts."
16 A. Yes.
17? Q. Could you explain to me the reason why |
18 you sent me that e-mail so that I can have a better :
19 understanding?
20 A. Just to update you on my mental health
21 status, because nobody's really asked recently.
a
22 Even, you know, you're all aware of the fact that I |
23 suffered a nervous breakdown in the year 2016 and
24 '147; no one's asked lately, you know, how's your

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goes back to where, you know, originally I did
volunteer my situation as a nonviolent person.

I think hopefully the Commonwealth
Pennsylvania State Employees will learn from this
somehow, I would hope; that these legal situations,
you know, this is all just in a day's work for you,
but this does effect people's lives.

Qo. Certainly. And I understand that it

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mental health status doing. And, again, that kind of

sine enaaean

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A. TI don't see ghosts. I'm one of those

a shingle hanging outside of my door that says

sort of sensitive to spiritual things. Now, when I
get sleep deprived, I get hyper spiritual and in an
unhealthy way. I mean, it's certainly not something
that I enjoy but that's -- I was just trying to
explain that to you, that even on a good day I'm

aware of spiritual things.

out and sleep deprived and 1 think that that's --

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personally, I think that that's what happens to a lot

types of people where -~ I'm sensitive. I don't have

"psychic" or anything like that, but I've always been

But on, you know, let me get all stressed

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1 these people and maybe that's something we could help
2 prevent in our society, exercise kindness. And if

3 this situation had settled almost immediately after

4 it happened instead of going on four years now, you

5 know, maybe in certain situations it might prevent

6 violence in our society.
7 Q. What do you mean by that?
8 A. Well, I mean, as I said ail along, use me

9 as an example, okay, of maybe some of the problems

te,
ef

11 than trying to mitigate a person's mental health

12 issue, everything is litigated, you know. I don't

13 know. 2 don't really have anything more to say about
14 that.
15 Q. Okay. You filed the federal complaint in

16 this particular case voluntarily, did you not?

17 A. Yes, I did.
18 Q. So you initiated the lawsuit? Yes?
193 A. Yes, I did. And, honestly, because of --

20 if you look back at what I found, because of the

21 conflict of interest involved, honestly, when I filed
22 this lawsuit in June of 2017, I really truly thought
23 that it would be settled almost immediately.

24 I had no concept that the Attorney

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1 General civil litigation side would defend so

2 vigorously, you know, a defendant who had retaliated

3 against a person, who had committed elder abuse and

4 neglect to the Pennsylvania Attorney General Criminal

5 Division. You know, I just had no concept of that.
6

t really truly thought that by the end of the summer

PERE ae RO SE CREE CES

7 of 2017 that we would be in settlement talks. I had

Eup Bane

8 no idea that it would going on almost on to the year

9 2020 now. And I know you're new to the case.

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il case. But how -- strike that. Why do you believe

CE

12 that you were retaliated against by Barbara Raymond?

13 A. Because of the --

14 Q. Or was it even Barbara Raymond; was it

15 somebody else?

16 A. No, Barbara Raymond and the other
17 administration that were involved in it. But Barbara

18 Raymond. Because of the proximity of me voicing my

A
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dl
B
4
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;
i

19 concerns and then what happened there with the

ea ad ESE

20 termination.

21 Q. I'm sorry, could you say that one more
22 time. The proximity to what?

23 A. The proximity of when I voiced my

24 concerns regarding the elder neglect and abuse to,

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- Nancy Lewen

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you know, then the subsequent employment termination.
It was a matter of just within a, you know, from
November to March 2nd, you know, it -- what is that,
three months? It wasn't like it stretched out over a
year or two years or anything, you know, boom, I
voiced the complaints and within just a short period
of time, I was terminated.

Q. How do you know that Ms. Raymond was

aware of the complaints that you voiced if some of

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A. Well, I would assume -— she testified
that she terminated me based on the content of
Facebook messages, that was the stated reason that
she gave. There was no argument about that. She
said -- when she testified at the unemployment
compensation hearing. I would assume if she was any
kind of a prudent administrator, that she would have
read the entirety of what she was terminating me on.
You know, I would assume that she didn't just pick
and choose different pages to read but not, you know,
if you look through those interrogatories that I
answered, I said a lot to Barry Blazek about my

complaints to the regulatory authorities. I think

it's hard to think that she didn't read those things.

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1 Q. So it is your belief that she found out
2 about the complaints through the Facebook messages?
3 A. Through that and then also the one e-mail
4 that I had sent to Kevin McGloughlin about resident
:
5 dignity issues with the sexual relation. That was
6 forward -- that was a group e-mail to all nursing
7 staff and then --
8 Q. Is that the group e-mail that included
9 the phrase "bloodshed I fear might happen at one day
o ————— ss Sen eaten Sige Ee
11 A. No, that was in the Facebook messages to
12 Blazek, the off-duty Facebook messages. The e-mail
13 to Kevin McGloughlin was distributed to all nursing
14 staff. It was generated -- it was originated by him
15 and I responded to him about how some of these
16 residents -- I named actually one of them, I believe,
i7 by name. I felt that if they looked at how his -- he
18 had taken a cognitive status test that it was
19 probably administered by a psychologist. I chought
20 that these people might actually be sexual assault
21 victims not able to consent to sexual relationships.
22 And, of course, the facility contributory neglect |
23 thing that I submitted to my supervisor. She didn't
24 deny that she read that. |

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1 Q. Who didn't deny?

2 A. Barbara Raymond. Recently when sh

3 answered these two most recent interrogatories, she

4 said that she didn't respond to it because it wasn't |

5 a complaint, but she didn't deny that she had read it

6 or that she knew of it's existence or whatever. She

7 said that I had chosen not to go to my PDC and,

8 instead, I submitted that.

9 Q. Why did you choose not to go to your PDC?
1.Q. A ponicie ROCAUSE. I. feltolike. Toolonl tread ly have... tL
il anything more to say about it.
12 Q. But you were aware that that was an
13 opportunity for you to present your case, correct? |
14 A. Right. But you have to realize that
15 these PDCs are held in the morning after you worked |
16 all night long and, you know, I felt like there
17 wasn't really anything that I could say orally after |
18 I had worked all night long that I couldn't better
19 say in writing. And that's why I submitted that !
20 instead of attending the PDC in person.
21 Q. Did you ask to have the PDC moved to a
22 @ay where you did not work the night before? :
23 A. No, I did not. As I said I thought that
24 that written submission would be sufficient.

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i don't know if you need to use the bathroom or get a
2 drink of water, but I'm going to place you on mute :
3 for a few moments. We're going to go off the record,

4A and then I'll come back and hopefully be done here
5 shortly. Okay?

6 A. Okay.

7 Q. So it's 11:35 now. How about we come

8 back at 11:40?

- 9. A. Thank you very much.
10 ° 6° PT ay going to put jer wi mute and enen i
11 come back in five minutes. :
12 A. Okay.
13 |
14 (Five-minute break was taken)
15
16 Q. I just have a few follow-up questions and

17 then we're going to be finished here for the day.

Taree ee TE TTA se ce ETO

18 Going back a little bit to the Facebook messages
19 between you and Mr. Blazek and you're perceived
20 understanding of why he was missing work and his

21 employment may have been jeopardized.

Prepress MMSE

22. A. Uh-huh.
“23 Q. Do you recall on February 29th he, he

24 being Mr. Blazek, sent you a message in which he says

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‘tis

Keener eee eee RT nee ee eee ee ee eee eee ce eee ee

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1 this ongoing one-sided relationship has become such a

distraction to me. I can't allow it to continue.

Ww N

That was part of a fairly long message that he sent

4 to you. Do you recall this?

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A Tat h Sa SB Oe PRAT

5 A. Vaguely, yes.
6 Q. Okay. So would you agree with me that
7 his job may have been impacted by the constant
8 communication, the one-sided communication he
9 mentioned in this message?
Dh De beac cnenemnerse Dev £ actuatty desagrce As“ you sare you —
11 know sometimes it's best to agree to disagree. I

12 think that he did use me as a way to save his on job
13 until he could actually get out of there without

14 being terminated for his absenteeism.

15 Q. He's no longer working at the home?

16 A. No, he left around like December of 2016,
17 Q. And how do you know that?

18 A. Another person told me that, that I ran
19 into.

20 Q. Who was this other person?

21 A. Actually, quite honestly, I don't even

22 know her name. It was a nurse assistant. And,
23 apparently, he went to work at the VA. It was a day

24 shift nurse assistant, but I don't know her name, to

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1 be quite honest.

Q. Did she volunteer the information or did

fw NO

you seek it out?

4 A. She volunteered it.

Where did you see her?

Q

6 A. At Wal-Mart.
o Okay. And when did you see her?
A

Oh, that was a long time ago now, that

9 was in the year 2017. I don't even know the date.

“co thank you ror

TO Qo “Ona oO MS Lewen; Tt wan
11 your time. I think that's all the questions that
12 have. So we are finished for today.

13 A. Thank you.

aaa oc SET HE EEE

15 (Deposition concluded at 11:43 a.m.}

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i I, ELLEN M. MUIR, a Commissioner of the State
2 of Rhode Island, do hereby certify that NANCY :
3 ELIZABETH LEWEN came before me on the 23rd day of :
4 December 2019, at CATUOGNO COURT REPORTING SERVICES,
5 INC., 155 South Main Street, 2nd Floor, Providence,
6 Rhode Island, and was by me duly sworn to testify to
7 the truth and nothing but the truth as to her :
8 knowledge touching and concerning the matters in
9 controversy in this cause; that she was thereupon
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11 to writing by me; and that the statement is a true
12 record of the testimony given by the witness, to the
13 best of my knowledge and ability.
14 I further certify that I am not a relative or
15 employee of counsel/attorney for any of the parties,
16 nor a relative or employee of such parties, nor am I
17 financially interested in the outcome of the action.
18 WITNESS MY HAND this 12th day of January, 202
19 4
20 :
21 CLs LP?
22 Ellen M. Muir My Commission expires:
23 Commissioner of the November 30, 2021
24 State of Rhode Island

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